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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JOSE MANUEL MAGANA
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,       )     NO. CR-S-07-0331 LKK
12                                   )
                    Plaintiff,       )     STIPULATION AND ORDER CONTINUING
13                                   )     STATUS CONFERENCE
          v.                         )
14                                   )
     JOSE MANUEL MAGANA, et al.,     )     Date: May 13, 2008
15                                   )     Time: 9:30 a.m.
                    Defendants.      )     Judge: Hon. Lawrence K. Karlton
16                                   )
     _______________________________ )
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19        It is hereby stipulated and agreed to between the United States of
20   America through Jill Thomas, Assistant United States Attorney, and JOSE
21   MANUEL MAGANA, by and through his counsel Matthew C. Bockmon, Assistant
22   Federal Defender, that the status conference presently scheduled for
23   April 29, 2007, be vacated and rescheduled for status conference on May
24   13, 2008, at 9:30 a.m.
25        This continuance is being requested because of on-going defense
26   investigation and preparation and because counsel for defendant Jose
27   Manuel Magana is not available on April 29, 2009.
28        IT IS FURTHER STIPULATED that the period from April 29, 2008,
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 1   through and including May 13, 2008, be excluded in computing the time
 2   within which trial must commence under the Speedy Trial Act, pursuant
 3   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
 4   preparation of counsel.
 5   Dated: April 25, 2008
                                               Respectfully submitted,
 6
                                               DANIEL J. BRODERICK
 7                                             Federal Defender
 8                                             /s/ Matthew C. Bockmon
                                               ________________________________
 9                                             MATTHEW C. BOCKMON
                                               Assistant Federal Defender
10                                             Attorney for Defendant
                                               JOSE MANUEL MAGANA
11
12
     Dated: April 25, 2008
13
                                               MCGREGOR W. SCOTT
14                                             United States Attorney
15                                             /s/ Matthew C. Bockmon for
                                               ________________________________
16                                             JILL THOMAS
                                               Assistant U.S. Attorney
17                                             per telephonic authority
18
                                          O R D E R
19
     IT IS SO ORDERED.
20
     Dated:    April 25, 2008
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     Stip and Order                            2
